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_____________________________________________________________________________________________
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                                                                                        January 19, 2023
Via Electronic Filing
The Honorable Nicholas G. Garaufis, U.S.D.J.
U.S. District Court, Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                       Re:      Dawkins v. Restonic Sales, Inc.
                                Case No.: 1:22-cv-06624-NGG-LB

Dear Honorable Judge Garaufis:

       This law firm represents Defendant Restonic Sales, Inc. (the “Defendant”) in the above-
referenced matter.

       Pursuant to Your Honor’s Individual Motion Practice Rules V(A)(2) this letter respectfully
serves to respectfully request a pre-motion conference on Defendant’s anticipated motion to
dismiss (the “Motion to Dismiss”) the Complaint, filed on October 31, 2022 [Dckt. No. 1] (“the
Complaint”, or the “Compl.”), by Plaintiff Elbert Dawkins (the “Plaintiff”) pursuant to Federal
Rule of Civil Procedure (“Fed.R.Civ.P.”) 12(b)(1) and 12(b)(6) (the “Motion to Dismiss”).

       This letter further respectfully serves to respectfully an extension of time to answer or
respond to the Complaint, pursuant to Your Honor’s Individual Motion Practice Rules V(A)(3).

        As set forth more fully below, the instant action is demonstrative of the “potential for abuse
of the ADA noted in numerous cases in districts throughout the country.” Access 4 All, Inc, 2006
U.S. Dist. LEXIS 96742 at *34. The Complaint should be dismissed for three (3) reasons. First,
Plaintiff has failed to state a claim for relief under Title III of the ADA. Second, Plaintiff’s
allegations of “a bare procedural violation, divorced from any concrete harm,” cannot “satisfy the
injury-in-fact requirement of Article III.” See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1549
(2016). Third, Plaintiff has not – and cannot – establish the requisite “reasonable inference” of an
intent to patronize the website located at https://restonic.com/ (“Defendant’s Website”).

       I.      Summary of Relevant Facts

       According to the operative Complaint, Plaintiff is a “visually-impaired and legally blind
person[.]” [Compl. at ¶ 2].The Complaint does not allege whether Plaintiff has no vision at all, or
has low vision. [Id.].

      The Complaint alleges that on an unspecified date, in an unspecified year, Plaintiff visited
Defendant’s Website.

        Of critical importance, Plaintiff does not allege that he genuinely intended to, or was
actually prevented from, patronizing Defendant’s Website. [Id.].




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      The Complaint vaguely identifies four (4) types of alleged barriers on Defendant’s
Website:

         1. The lack of non-text features, which provides descriptive alternative text to
            graphic images. [Id. at ¶ 25].

         2. The lack of label elements or title attributes for HTML fields. [Id. at ¶ 26].

         3. Certain webpages contain the same descriptive HTML titles. [Id. at ¶ 27].

         4. Certain webpages contain broken links. [Id. at ¶ 28].

      The Complaint does not specify where these alleged barriers are located. Nor does the
Complaint which of these barriers he encountered personally.1 These are fatal flaws.2

        Plaintiff is asserting two (2) claims for violations of: (i) Title III of the Americans with
Disabilities Act, 42 U.S.C.A. § 12101, et seq., (the “ADA”); and (ii) the Administrative Code of
the City of New York § 8-107, et seq. (the "NYC Code"). [Compl. at ¶¶ 50-70]. Plaintiff is also
asserting a third claim for declaratory relief. [Id. at ¶ 71-73].

       The operative facts in Plaintiff’s Complaint are substantially similar to 598 other
complaints3 filed in the Southern and Eastern Districts of New York by Plaintiff’s counsel, Mark
Rozenberg (“Attorney Rozenberg”), and elsewhere by self-proclaimed ADA “testers” that have
inundated federal courts with questionable complaints in the last few years that have more to do
with garnering attorneys’ fees than ensuring access under the ADA.4

         II.      Plaintiff’s Failure to State a Claim for Relief Under Title III of the ADA
                  Warrants Dismissal of the Complaint

        To state a Title III claim, a plaintiff must do more than merely recite regulatory language.
Antolini v. Thurman, 2021 WL 3115169, at *9 (S.D.N.Y. 2021) (citing Omnicare, Inc. v. Laborers
Dist. Council Const. Indus. Pension Fund, 575 U.S. 175, 196 (2015)).

       In the instant action, the Complaint rests on recitations of privately developed Web Content
Accessibility Guidelines (“WCAG”) 2.1, Level AA. Although various federal courts have adopted


1
  For example, the Complaint generally alleges that certain barriers present “problem[] for the visually impaired.”
[See Compl. at ¶¶ 26-28].
2
  District courts in this Circuit, and in other Circuits, have dismissed nearly identical pleadings filed by other “tester”
plaintiffs for failing to establish actual or imminent injury sufficient to confer standing. See e.g., Sarwar v. L.S.K.,
Inc., 2021 WL 4317161, at *3 (D.N.J. 2021); see also Harty v. W. Point Realty, Inc., 28 F.4th 435 (2d Cir. 2022).
3
  A true and correct compendium of the 598 ADA-cases filed in this District by Attorney Rozenberg, as of September
26, 2022, is annexed hereto as Exhibit “A”.
4
  See, e.g., Access 4 All, Inc. v. Thirty E. 30th St., LLC, 2006 U.S. Dist. LEXIS 96742 at *34-35 (S.D.N.Y. 2006).
(citing Doran v. Del Taco, Inc., 2006 U.S. Dist. LEXIS 53551, at *15-16 (C.D. Cal. 2006)). (Recognizing “the ability
to profit from ADA litigation,” and rather than “informing the business of the violations and attempting to remedy
them, lawsuits are filed, as pre-suit settlements…do not vest plaintiff’s counsel with an entitlement to attorney’s fees
under the ADA.”)


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the WCAG 2.05 Level AA success criteria, formulaic statements of private industry guidelines are
“plainly not sufficient to state a claim” under Title III of the ADA. Omnicare, Inc., 575 U.S. at
196. None of the categories of alleged barriers in the Complaint are identified with a modicum of
specificity, to wit: their locations or which Plaintiff personally encountered. [Compl. at ¶¶ 25-28].
These are fatal pleading defects.

         III.     Plaintiff Lacks Standing Because He Suffered No Injury-In-Fact

        Standing is an integral part of the constitutional limitation that federal courts can hear only
cases or controversies pursuant to Article III of the United States Constitution. See Simon v.
Eastern Kentucky Welfare Right Organization, 426 U.S. 26, 41-42 (1976). Absent Article III
standing, a federal court “lacks subject matter jurisdiction to hear the case and it must be
dismissed.” Ross v. AXA Equitable Life Ins. Co., 115 F. Supp. 3d 424, 432 (S.D.N.Y. 2015). “'[T]he
standing question is whether the plaintiff has alleged such a personal stake in the outcome of the
controversy as to warrant his invocation of federal court jurisdiction and to justify exercise of the
court's remedial powers on his behalf.” Warth v. Seldin, 422 U.S. 490, 489-90 (1975), (quoting
Baker v. Carr, 369 U.S. 186, 204 (1962). A plaintiff bears the burden of meeting the “irreducible
constitutional minimum of standing” by proving, inter alia, “…an injury in fact…which is (a)
concrete and particularized and (b) actual or imminent, not conjectural or hypothetical.” Lujan
v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992) (internal quotations, and citations omitted),
(emphasis added).

        Of critical importance, Plaintiff does not allege that he was actually prevented from,
patronizing Defendant’s Website. [Compl. at ¶ 22]. Assuming arguendo, the alleged technical
violations identified in the Complaint exist, Plaintiff was not prevented from making a purchase
from Defendant’s Website, and thus, did not experience the requisite “concrete and particularized”
harm necessary to establish Title III standing.

        The Complaint states, in conclusory fashion, that Plaintiff “was attempting, but was but
was unsuccessful, in reviewing the products[,]” and that “Plaintiff intends to visit the Website in
the near future if he can access the Website.” [Compl. at ¶¶ 25, 31]. At most, these claims amount
to the sort of “informational” and “dignitary” harm that are insufficiently “concrete and
particularized” to constitute an injury-in-fact. See Gannon v. 31 Essex Street LLC, et al, 2023 WL
199287, at *4 (S.D.N.Y. 2023) (“Article III does not grant a ‘freewheeling power to hold
defendants accountable for legal infractions’”) (citing Harty, 28 F.4th at 443); Harty, 28 F.4th 435.
(affirming District Court’s dismissal of tester plaintiff’s complaint, alleging informational injury);
Hernandez v. Caesars License Co., LLC, 2019 WL 4894501, at *2-4 2019 WL 4894501 (D. N.J.
2019) (““non-disclosure [of information] is not an injury in and of itself. Rather, plaintiff[] must
show that an alleged non-disclosure actually harms them”).


5
  “WCAG 2.0 guidelines are private industry standards for website accessibility developed by technology and
accessibility experts. WCAG 2.0 guidelines have been widely adopted, including by federal agencies, which conform
their public-facing, electronic content to WCAG 2.0 level A and level AA Success Criteria. 36 C.F.R. pt. 1194, app.
A (2017). In addition, the Department of Transportation requires airline websites to adopt these accessibility standards.
See 14 C.F.R. § 382.43 (2013). Notably, the Department of Justice has required ADA-covered entities to comply with
WCAG 2.0 level AA (which incorporates level A) in many consent decrees and settlement agreements in which the
United States has been a party.”


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         IV.       Plaintiff Cannot Establish a “Reasonable Inference” of an Intent to Patronize
                   Defendant’s Website

         In the case at bar, Plaintiff calls into question whether they have established the requisite
“reasonable inference” of an intent to patronize Defendant’s Website. Access 4 All, Inc, 2006 U.S.
Dist. LEXIS 96742 at *34. In determining whether an ADA plaintiff has raised such an inference,
the Second Circuit has instructed that courts should consider a variety of factors, including the
proximity of the defendant's services to the plaintiff’s home, the frequency of the plaintiff's past
visits to defendant's public accommodation, plaintiff's occupation, plaintiff's demonstrated travel
habits, and a plaintiff’s serial litigation history. Tozzer, Ltd., 2018 WL 1872194 at *4 (citations
omitted).

         When considered alongside Plaintiff’s vague allegations and serial litigation history6, the
Complaint simply fails to plausibly demonstrate a plausible “reasonable inference” of an intent to
patronize, as required to establish standing under Title III. District courts in the Second Circuit,
and in other Circuits, have dismissed nearly identical pleadings filed by other “tester” plaintiffs
for failing to establish actual or imminent injury sufficient to confer standing. See e.g., Sarwar v.
L.S.K., Inc., 2021 WL 4317161, at *3 (D.N.J. 2021); see also Harty, 28 F.4th 435.

         V.        Conclusion

       For all of the foregoing reasons, it is respectfully submitted the Court schedule a pre-motion
conference on Defendant’s anticipated Motion to Dismiss pursuant to Fed.R.Civ.P. 12(b)(1) and
12(b)(6).

         Thank you, in advance, for your time and attention to this matter.
                                                          Respectfully submitted,
                                                          LEVIN-EPSTEIN & ASSOCIATES, P.C.

                                                          By: /s/ Jason Mizrahi
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VIA ECF: All Counsel

Encl.


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  “The more hotels sued by an individual ADA plaintiff, the less likely it is that the plaintiff will be able to demonstrate
a plausible intention to return to each of those hotels in the ‘imminent’ future to enjoy its facilities.” Access 4 All, Inc.,
2006 U.S. Dist. LEXIS 96742 at *33; Laufer v. Dove Hess Holdings, LLC, 2020 U.S. Dist. LEXIS 246614 (N.D.N.Y.
2020) motion to certify appeal denied, 2021 WL 365881 (N.D.N.Y. 2021) (taking judicial notice of carbon-copy ADA
lawsuits filed by plaintiff in context of challenge to standing); See also Ex. A.


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